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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            Case No. 16-cr-20677

v.                                                          Honorable Thomas L. Ludington

MARQUISE DESHAWN ASHWORTH,

                  Defendant.
_______________________________________/

       ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
       DEFENDANT’S PLEA OF GUILTY, AND TAKING THE RULE 11 PLEA
                   AGREEMENT UNDER ADVISEMENT

       On January 3, 2017, United States Magistrate Judge Patricia T. Morris conducted a plea

hearing pursuant to Defendant’s consent. ECF No. 108. The Magistrate Judge issued her report

on January 4, 2017, recommending that this Court accept Defendant’s plea of guilty. ECF No.

122.

       Although the Magistrate Judge’s report explicitly stated that the parties to this action may

object to and seek review of the recommendation within fourteen days of service of the report,

neither Plaintiff nor Defendant filed any objections. The failure to file objections waives any

right to appeal the magistrate judge’s findings that Defendant was competent to enter a plea, and

that the plea was entered knowingly, voluntarily, without coercion, and with a basis in fact.

Thomas v. Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation,

ECF No. 122, is ADOPTED.



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       It is further ORDERED that Defendant’s plea of guilty is ACCEPTED, and the Rule 11

Plea Agreement, ECF No. 119, is taken UNDER ADVISEMENT.



Dated: January 23, 2017                                                         s/Thomas L. Ludington
                                                                                THOMAS L. LUDINGTON
                                                                                United States District Judge




                                                  PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on January 23, 2017.

                                                            s/Michael A. Sian
                                                            MICHAEL A. SIAN, Case Manager




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